           Case 1:17-cr-00722-VSB Document 786 Filed 04/04/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------- X
                                                          :
UNITED STATES OF AMERICA                                  :
                                                          :
                                                          :      S1 17-CR-722 (VSB)
                       -against-                          :
                                                          :            ORDER
                                                          :
SAYFULLO HABIBULLAEVIC SAIPOV, :
                                                          :
                           Defendant.                     :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

        In addition to raising any issues with the proposed sentencing date, (see Doc. 784), the

parties shall also include in their response on April 12, 2023 whether or not there are any

objections to the jurors attending the sentencing.

SO ORDERED.

Dated: April 4, 2023
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
